            Case 2:19-cv-05946-RBS Document 37 Filed 01/14/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AC2T, INC. d/b/a                             :
SPARTAN MOSQUITO                             :
                                             :      CIVIL ACTION
       v.                                    :
                                             :      NO. 19-5946
COLIN PURRINGTON                             :

                                           ORDER

       AND NOW, this 14th day of January 2022, upon consideration of Plaintiff’s Motion For

Order Governing Exchange Of Confidential Documents And Information In Discovery (ECF No.

34), and Defendant’s response thereto (ECF No. 35), it is ORDERED that the Motion is

GRANTED. 1 The following provisions shall govern claims of confidentiality in these

proceedings:

   1. The following documents and information may be designated as “Confidential”:

             a. Confidential or proprietary research, development, manufacturing, or commercial
                or business information, trade secrets, customer lists, financial data, and
                production data.
             b. Personal identifiers and financial information.

   2. A party producing confidential documents may designate documents or parts thereof as
      such by stamping “Confidential” on each page, and/or, if such documents are produced in
      electronic format, labeling the folder containing the documents “Confidential.”

   3. At the time of a deposition or within 10 days after receipt of the deposition transcript, a
      party may designate specific portions of the transcript as “Confidential” if they meet the
      definition set forth in paragraph 1 above.

   4. Confidential documents, or the confidential parts of documents that are so designated,
      shall be shown only to the parties, their counsel, their experts, and court personnel.
      Confidential discovery material produced in this litigation may only be used in
      connection with this litigation.

   5. Inadvertent disclosure of a confidential document shall not be deemed a waiver, and a
      party realizing that there has been an inadvertent disclosure of a document that should be
           Case 2:19-cv-05946-RBS Document 37 Filed 01/14/22 Page 2 of 3




       “Confidential” may so designate by apprising all parties in writing, and thereafter such
       documents shall be treated as “Confidential.”

   6. If a party believes that a document designated “Confidential” does not warrant such
      designation, counsel shall first make a good-faith effort to resolve the dispute. If the
      dispute cannot be resolved, either party may apply to the Court for a determination as to
      whether the “Confidential” designation is appropriate.

   7. A party may file “Confidential” documents or “Confidential” parts thereof under seal,
      and if a filing describes the contents of a “Confidential” document, then that part of the
      filing shall be redacted and filed under seal.

   8. Within a reasonable time following this litigation (including any appeal), a party who
      received confidential documents shall return them to the producing party or destroy all
      confidential documents it has received.
       IT IS SO ORDERED.

                                                     BY THE COURT:


                                                     /s/ R. Barclay Surrick
                                                     R. BARCLAY SURRICK, J.
       1
           In this defamation action, Plaintiff Spartan filed this Motion For Order Governing
Exchange Of Confidential Documents And Information In Discovery against Defendant
Purrington. Plaintiff requests that confidential documents—particularly those involving testing
and research on proprietary products—provided during discovery be marked as such, and that
sealing and/or redacting may be required if a party files a confidential document or describes it in
a filing. Defendant objects, claiming the request is overbroad and covers some publicly available
information.
         Federal Rule of Civil Procedure 26(b)(1) states that “[p]arties may obtain discovery
regarding any nonprivileged matter that is relevant to any party’s claim or defense . . .
Information within this scope of discovery need not be admissible in evidence to be
discoverable.”
         However, a court may enter a protective order to shield a party “from annoyance,
embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). It is well
established that the party wishing to obtain a protective order has the burden of demonstrating
that “good cause” exists for the order. Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d
Cir. 1994). “‘Good cause is established on a showing that disclosure will work a clearly defined
and serious injury to the party seeking closure. The injury must be shown with specificity.’. . .
‘Broad allegations of harm, unsubstantiated by specific examples or articulated reasoning,’ do
not support a good cause showing.” Pansy, 23 F.3d at 786 (internal citations omitted).
         The Third Circuit has adopted a balancing test to determine whether good cause exists as
follows:


                                                 2
         Case 2:19-cv-05946-RBS Document 37 Filed 01/14/22 Page 3 of 3




   (1) whether disclosure will violate any privacy interests;
   (2) whether the information is being sought for a legitimate purpose or for an improper
       purpose;
   (3) whether disclosure of the information will cause a party embarrassment;
   (4) whether confidentiality is being sought over information important to public health and
       safety;
   (5) whether the sharing of information among litigants will promote fairness and efficiency;
   (6) whether a party benefitting from the order of confidentiality is a public entity or official;
       and
   (7) whether the case involves issues important to the public.

See id. at 787-91; see also In re Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d 662,
671 (3d Cir. 2019); Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483 (3d Cir. 1995).
        Courts are given broad discretion in evaluating the competing interests in discovery
disputes so that they have the necessary flexibility to “justly and properly consider the factors of
each case.” Id. at 789. Most commonly, courts limit discovery of confidential documents by
preventing the party obtaining the documents from sharing the document with others and by
using that documents for anything, other than the present litigation. Id.
        Here, neither party is a public entity or official, and Plaintiff has a strong, legitimate
interest in protecting proprietary information involving testing and research on its product. J
Morita Mfg. Corp. v. Dental Imagining Techs. Corp., No. CV 21-0663-KSM, 2021 WL
4078036, at *1 (E.D. Pa. June 1, 2021) (entering confidentiality order to govern proprietary
information and trade secrets that were not relevant to health and public safety). In addition, our
order is tailored to prevent abuse: If the parties dispute “Confidential” designations and cannot
resolve the matter themselves, the court will determine whether the documents are, in fact,
confidential.
        For the reasons stated, Plaintiff’s Motion will be granted.




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